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                  IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF DELAWARE


In re:                                     Chapter 7

THE ART INSTITUTE OF                       Case No. 18-11535 (CTG)
PHILADELPHIA LLC, et al.,
                                           Jointly Administered
         Debtors.


GEORGE L. MILLER, Chapter 7
Trustee,
                                           Adv. Pro. No. 20-50627 (CTG)
         Plaintiff,
                                           Related Docket No. 117
v.

TODD S. NELSON, et al.,

         Defendants.


                      ORDER SCHEDULING ORAL ARGUMENT

         The following motions are before the Court: (i) Motion to Dismiss the First

Amended Complaint of Defendants John Devitt Kramer and Mark Novad [D.I. 93]; (ii)

Motion of Defendants West and Beekhuizen to Dismiss the First Amended Complaint

[D.I. 98]; and (iii) Defendants Mark McEachen, Frank Jalufka and John Danielson’s

Motion to Dismiss First Amended Complaint, or in the Alternative, Motion for a More

Definite Statement [D.I. 102] (collectively, the “Motions”).   Oral argument on the

Motions is scheduled for August 1, 2022 at 10:00 a.m.




Dated: June 27, 2022
                                        CRAIG T. GOLDBLATT
                                        UNITED STATES BANKRUPTCY JUDGE
